              Case 21-11271-abl       Doc 346     Entered 08/06/21 17:07:19       Page 1 of 2




 1
 2
 3
 4       Entered on Docket
     ___________________________________________________________________
         August 06, 2021
 5
 6
 7                             UNITED STATES BANKRUPTCY COURT
 8                                       DISTRICT OF NEVADA
 9                                 ******
                                     )
10
      In re:                         ) Case No.: 21-11271-abl
11                                   )
      MEDOLAC LABORATORIES, A PUBLIC ) Chapter 7
12    BENEFIT CORPORATION,           )
                                     )
13
             Debtor.                 ) Hearing Date: August 6, 2021
14                                   ) Hearing Time: 9:30 a.m.
                                     )
15                                   )
16        ORDER CONTINUING HEARING ON MOTION TO APPROVE SETTLEMENT
17           On August 6, 2021, the Court conducted a hearing on a contested Motion to Approve
18    Settlement (“Motion”) (ECF No. 279).1 The Motion was filed by Chapter 7 trustee, Brian D.
19    Shapiro (“Trustee”).
20           The August 6, 2021 hearing on the Motion was conducted telephonically. Trustee
21    appeared on his own behalf. Matthew C. Zirzow appeared on behalf of the debtor. Attorney
22    Marjorie A. Guymon appeared on behalf of creditor Prolacta Bioscience, Inc. Attorney James S.
23    Livermon, III, appeared on behalf of creditor, Liquid Gold, LLC. Attorney Donald H. Cram
24    appeared on behalf of creditor Doug Hughes. Attorneys James Patrick Shea and Michael T.
25    Driscoll appeared on behalf of interested party, Mead Johnson & Company, LLC. Attorney
26
27           1
                In this Order, all references to “ECF No.” are to the numbers assigned to the documents
28    filed in the above-captioned bankruptcy case as they appear on the docket maintained by the
      Clerk of the Court.
             Case 21-11271-abl       Doc 346      Entered 08/06/21 17:07:19        Page 2 of 2




 1   Megan K. McHenry appeared on behalf of creditor M2 Lease Fund. Other appearances were
 2   noted on the record.
 3          For the reasons stated on the record at the August 6, 2021 hearing on the Motion:
 4          IT IS ORDERED that on or before August 9, 2021, Trustee shall file an amendment to
 5   the Motion providing for alternative relief in the form of an asset sale under 11 U.S.C. § 363.
 6   The amended Motion shall comply with all requirements of LR 6004.
 7          IT IS FURTHER ORDERED that a hearing to consider approval of the procedures that
 8   will govern the proposed asset sale under the Motion as amended pursuant to this Order will be
 9   held on Tuesday, August 17, 2021, commencing at 1:30 p.m. The hearing to consider
10   approval of the sales procedures under the Motion as amended pursuant to this Order shall be
11   held before the Hon. Gary Spraker on that date and at that time.
12          IT IS FURTHER ORDERED that the final hearing on the Motion as amended pursuant
13   to this Order shall be held on Tuesday, August 24, 2021, commencing at 1:30 p.m.
14
     Copies sent to all parties via CM/ECF Electronic Filing.
15
                                                    ###
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                          2
